                                         Case 1:15-cv-00321-SKO         Document 534          Filed 09/12/23   Page 1 of 2


                                     1   CALVIN E. DAVIS (SBN 101640)
                                          cdavis@gordonrees.com
                                     2   AARON P. RUDIN (SBN 223004)
                                          arudin@gordonrees.com
                                     3   GORDON & REES LLP
                                         633 West Fifth Street, 52nd Floor
                                     4   Los Angeles, CA 90071
                                         Telephone: (213) 576-5000
                                     5   Facsimile: (213) 680-4470

                                     6   Attorneys for Defendants,
                                         GUARDIAN PROTECTION PRODUCTS, INC. and
                                     7   RPM WOOD FINISHES GROUP, INC.

                                     8                               UNITED STATES DISTRICT COURT

                                     9                              EASTERN DISTRICT OF CALIFORNIA
                                    10

                                    11   G.P.P., Inc., d/b/a GUARDIAN INNOVATIVE                  CASE NO. 1:15-cv-00321 SKO
                                         SOLUTIONS
633 West Fifth Street, 52nd Floor




                                    12                                                            DEFENDANTS GUARDIAN
                                                                      Plaintiff,                  PROTECTION PRODUCTS, INC.
    Los Angeles, CA 90071
     Gordon & Rees LLP




                                    13                                                            AND RPM WOOD FINISHES
                                                vs.                                               GROUP, INC.’S NOTICE OF
                                    14                                                            MOTION FOR ATTORNEYS’
                                         GUARDIAN PROTECTION PRODUCTS, INC.                       FEES
                                    15   and RPM WOOD FINISHES GROUP, INC.
                                    16                                Defendants.                 Date:       October 18, 2023
                                                                                                  Time:       9:30 a.m.
                                    17                                                            Courtroom.: 7
                                                AND RELATED COUNTERCLAIM
                                    18

                                    19
                                    20   TO ALL PARTIES HEREIN AND TO THEIR COUNSEL OF RECORD:

                                    21          PLEASE TAKE NOTICE that on October 18, 2023, at 9:30 a.m., or as soon thereafter

                                    22   as the matter may be heard, Defendants Guardian Protection Products, Inc. (“Guardian”) and

                                    23   RPM Wood Finishes Group, Inc. (“RPM”) (collectively “Defendants”), will, and hereby do,

                                    24   move the United States District Court, Eastern District of California, located at 2500 Tulare

                                    25   Street, Fresno, California, 93721, in Courtroom 7 (Sixth Floor), pursuant to Local Rule 293 and

                                    26   Rule 54 of the Federal Rules of Civil Procedure its Motion for Attorneys’ Fees on the grounds

                                    27   that Defendant RPM is the prevailing parties as to all of Plaintiff G.P.P. Inc. d/b/a/ Guardian

                                    28   Innovative Solutions’ (“GIS’s”) claims herein and Guardian is a prevailing party as to its claims
                                                                                        -1-
                                                            DEFENDANTS’ NOTICE OF MOTION FOR ATTORNEYS’ FEES
                                           Case 1:15-cv-00321-SKO          Document 534          Filed 09/12/23    Page 2 of 2


                                       1   based on the Ohio Warehousing Distributor Agreement (“WDA”), as Defendants achieved
                                       2   greater relief on the contracts. In particular, RPM obtained a complete victory as to all of GIS’s

                                       3   claims against it and Guardian is the party that most achieved its litigation objectives as to the

                                       4   Ohio WDA and there is no prevailing party as to the remaining WDAs as between Guardian and

                                       5   GIS. Therefore, Defendants are entitled to recover their attorney’s fees and costs incurred herein

                                       6   pursuant to the attorney’s fees previsions set forth in the WDAs at issue in this action.

                                       7          This Motion is based on California Civil Code section 1717 and California Code of Civil

                                       8   Procedure sections 1021, as well as the Memorandum of Points and Authorities filed

                                       9   concurrently herewith, the papers, documents, pleadings and records on file herein, the

                                      10   Declarations of Calvin E. Davis and Ronnie Holman filed in support hereof, and any declarations

                                      11   and documents as may be filed subsequently herein, and upon any such oral and documentary
  633 West Fifth Street, 52nd Floor




                                      12   evidence as may be presented at the hearing of this Motion.
      Los Angeles, CA 90071
       Gordon & Rees LLP




                                      13

                                      14   Dated: September 12, 2023                    GORDON REES SCULLY MANSUKHANI, LLP

                                      15
                                                                                              By:    /s/ Calvin E. Davis
                                      16                                                             Calvin E. Davis
                                                                                                     Aaron P. Rudin
                                      17                                                             Attorneys for Defendants,
                                                                                                     GUARDIAN PROTECTION
                                      18                                                             PRODUCTS, INC. and RPM WOOD
                                                                                                     FINISHES GROUP, INC.
                                      19
                                      20

                                      21

                                      22

                                      23

                                      24

                                      25

                                      26
                                      27

                                      28
1104957/81475076v.1
                                                                                           -2-
                                                               DEFENDANTS’ NOTICE OF MOTION FOR ATTORNEYS’ FEES
